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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                            MAGISTRATE JUDGE NINA Y. WANG


  Civil Action:          18-cv-01761-MSK-NYW         Date: October 11, 2019
  Courtroom Deputy:      Christopher Thompson        FTR: NYW COURTROOM A-502*

                   Parties                                             Counsel

    TIFFANY GRAYS,                                           pro se by phone

           Plaintiff,

    v.

    AUTO MART USA, LLC,                                      Michael G. McKinnon by
    JORGE PACHECO,                                           phone
    AUTO MART USA2,
    DANIEL RAMIREZ,
    JB OVALLE,
    DONNIE MCELROY,
    MARCO SANDOVAL,
    AUTO MART,
    JAY BARBER,

           Defendants,

    &

    M.D. ANNA PLUNKETT,

           Interested Party.


                         COURTROOM MINUTES/MINUTE ORDER


  DISCOVERY CONFERENCE

  Court in Session: 3:02 p.m.

  Appearance of pro se party and counsel by phone.
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  Discussion and argument held regarding issues which arose during Plaintiff’s attempt to depose
  multiple defendants.

  ORDERED: Parties shall meet and confer by telephone to schedule the depositions of
           defendants Daniel Ramirez, Jorge Pacheco, and Marco Sandoval. The parties
           are directed to file a Joint Status Report regarding the scheduled
           depositions by Friday, October 18, 2019.

  The Court acknowledges the depositions in question will most likely not occur within the end of
  discovery deadline and guides the Plaintiff to file a motion to take the depositions out of time.

  The Court directs the parties to review the United States District Courts District of Colorado
  Local Rules in relation to depositions: 30.1, 16, 30.3, and, 30(c)(2).

  The parties are directed to file a formal motion for sanctions if problems persist during the
  attempts to schedule and execute the remaining depositions.



  Court in Recess: 3:36 p.m.                Hearing concluded.                Total time in Court: 00:18

  *To order transcripts of hearings, please contact either AB Court Reporting & Video, Inc. at (303) 629-8534 OR
  Patterson Transcription Company at (303) 755-4536.
